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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

ABILENE DIVISION

JERRY REID, )
)
Plaintiff, )
)
v. )
)
SAFECO INSURANCE COMPANY OF )
INDIANA, )
)

Defendant. ) Civil Action No. l:lS-CV-070-C

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On this day the Court considered the Motion for Summary Judgment filed by Defendant,
Safeco lnsurance Company of Indianar,\ on April 29, 2016. On June 9, 2016, the United States
Magistrate Judge issued a Report and Recommendation that the Motion for Summary Judgment
be granted. Neither party has filed Written objections to the recommendation

Therefore, after reviewing the Report and Recommendation of the United States
Magistrate Judge for clear error, it is ORDERED that the findings and conclusions in the Report
and Recommendation are hereby ADOPTED as the findings and conclusions of the Court,
Defendant’s Motion for Summary Judgment is GRANTED, and Plaintifi’s claims are
DISMISSED With prejudice

Dated this Sth day of July, 2016.

 

SA /R. CU Gs
NloR ED sTATEs D T cTJUDGE

